          Case 7:21-cv-00105-HL Document 7 Filed 09/23/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION


PIMPAKTRA RUST,

       Plaintiff,

v.

VINA E. RUST, CHAKDHARI A. RUST,               Civil Action No. 7:21-CV-105-HL
and THE BRYN MAWR TRUST
COMPANY OF DELAWARE,

       Defendants.


                                       ORDER

      Having considered the Consent Motion to Extend the Time for Submitting

Proposed Scheduling Order, it is hereby:

      ORDERED AND ADJUDGED that the Consent Motion is GRANTED, and that the

time in which Parties have to submit the Proposed Scheduling Order shall be extended

up through and including October 25, 2021.

      This 23rd day of September, 2021.
                                          s/Hugh Lawson
                                       _____________________________
                                       Hugh Lawson, Senior Judge
